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      Charity J. Miller – State Bar No. 286481
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      Telephone: (949) 798-2460
  5   Facsimile: (949) 955-9437
  6   Attorneys for Mt Yohai, LLC
      Debtor and Debtor in Possession
  7
  8                            UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10   In re:                                       Case No. 8:16-BK-15157-CB
 11   MT YOHAI, LLC, a Delaware limited
      liability company,                           Chapter 11 Proceeding
 12
                                                   DEBTOR’S (1) UPDATED CHAPTER 11
 13                   Debtor and Debtor in         STATUS REPORT; AND (2) SUPPLEMENTAL
                      Possession.                  OPPOSITION TO MOTION FOR ORDER
 14                                                DISMISSING CHAPTER 11 CASE, AND
                                                   GRANTING RELATED RELIEF; AND
 15
                                                   DECLARATION OF MARC C. FORSYTHE IN
 16                                                SUPPORT THEREOF

 17                                                Hearing:
                                                   Date:         May 10, 2017
 18                                                Time:         10:00 a.m.
 19                                                Courtroom:    5D

 20
               TO THE HONORABLE CATHERINE BAUER, UNITED STATES BANKRUPTCY
 21
      JUDGE, AND THE UNITED STATES TRUSTEE:
 22
               Debtor and Debtor in Possession, MT YOHAI, LLC, a Delaware limited liability
 23
      company (“Debtor” or “Mt Yohai Debtor”) hereby files its (1) Updated Chapter 11 Status
 24
      Conference Report, and (2) Supplemental Opposition (“Opposition”) to the Motion Of Genesis
 25
      Capital (“Genesis’) For Order Dismissing Chapter 11 Case, And Granting Related Relief
 26
      (“Motion”) [Docket No. 37]. Debtor filed its Chapter 11 proceeding on December 21, 2016.
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  1          A.      Updated Status Report
  2          Attached as Exhibit “1” to the Declaration of Marc C. Forsythe is a true and correct copy
  3   of the term sheet (the “Mt Yohai Term Sheet”) between DCM P-9, LLC and the Debtor for the
  4   purchase of the real property located at 2521 Nottingham Avenue, Los Angeles, CA 90027 (the
  5   “Property”). Although the Mt Yohai Term Sheet was just recently finalized and, thus, not
  6   previously provided to Genesis, Debtor’s counsel has previously spoken to Genesis’s counsel
  7   about the general proposed deal terms. As Debtor is proposing to pay all existing liens, Debtor is
  8   hopeful that Genesis will consent to the Mt Yohai Term Sheet. Debtor will endeavor to reach an
  9   agreement with Genesis prior to the May 10, 2017 hearing. The amount of debt listed in the Mt
 10   Yohai Term Sheet is per the Debtor’s schedules. Debtor’s counsel received a draft proof of claim
 11   from Genesis’s counsel on April 25, 2017, that is still subject to client approval by Genesis. Once
 12   finalized, Debtor will review and discuss with Genesis any disputes with the Genesis proposed
 13   claim, and hopefully reach an agreement as to the same prior to the May 10, 2017 hearing. If
 14   Debtor is unable to reach an agreement with Genesis prior to the May 10, 2017 hearing, Debtor
 15   will propose a disclosure statement and plan of reorganization that will seek to sell the Property
 16   and pay all allowed claims of the Debtor’s estate. Lastly, Debtor will ask the Court at the May 10,
 17   2017 hearing to set a claims bar date.
 18          B.      Supplemental Response to the Motion
 19          The Genesis Motion argues that (1) Debtor is a SARE; (2) cause for dismissal exists
 20   because a 3rd party, who Debtor has entered into term sheets with in the Mt Yohai Bankruptcy
 21   Case and the Mt Yohai Bankruptcy Case, negotiated in bad faith with Genesis prior to the
 22   February 1, 2017 and (3) cause for dismissal exists because Debtor was not in compliance with the
 23   U.S.T. requirements.
 24          Debtor has no further argument or evidence that has not already been presented prior to the
 25   February 22, 2017 hearing on the Motion in relation to its position that Debtor is not a SARE
 26   ///
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  1   debtor. The Mt Yohai Term Sheet is evidence that Debtor1 has not negotiated in bad faith and is
  2   moving forward with a proposed conclusion to its bankruptcy case through the sale of the Property
  3   and the payment of all allowed claims. Lastly, Debtor believes it is in compliance with all U.S.T.
  4   requirements, and has not received any notification from the U.S.T. to the contrary since the
  5   February 22, 2017 hearing on the Motion.
  6            C.       CONCLUSION
  7            Based on the arguments and evidence presented herein, the pleadings and declarations
  8   incorporated herein, Debtor respectfully requests that the Motion to Dismiss be denied.
  9
 10
      Dated: April 26, 2017                                          Respectfully Submitted by
 11
                                                                     GOE & FORSYTHE, LLP
 12
 13                                                                  By: /s/Marc C. Forsythe____________
 14                                                                      Marc C. Forsythe
                                                                         Attorneys for Debtor MT YOHAI, LLC
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       As argued in its Opposition filed prior to the February 22, 2017 hearing, Genesis accused the 3rd party, and not the
 27   Debtor, of negotiating in bad faith, and Debtor argued that alleged bad faith negotiations by a 3rd party could not be
      used as evidence against the Debtor as cause for dismissal.
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  1                             DECLARATION OF MARC C. FORSYTHE
  2          I, Marc C. Forsythe, declare and state as follows:
  3          1.   I am a partner at Goe & Forsythe, LLP, counsel for debtor and debtor in possession
  4   (“Debtor”). The matters stated hereinafter are within my personal knowledge, and if called upon
  5   as a witness, I could and would competently testify thereto.
  6          2.   Attached hereto as Exhibit “1” is a true and correct copy of the term sheet (the “Mt
  7   Yohai Term Sheet”) between DCM P-9, LLC and the Debtor for the purchase of the real property
  8
      located at 2521 Nottingham Avenue, Los Angeles, CA 90027 (the “Property”).
  9
             I declare under penalty of perjury under the laws of the United States of America that the
 10
      foregoing is true and correct.
 11
 12   DATED: April 26, 2017                                /s/Marc C. Forsythe
                                                           Marc C. Forsythe
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                   EXHIBIT 1




                   EXHIBIT 1
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                                                 Jeffrey Yohai
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  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3
      A true and correct copy of the foregoing document entitled (specify): DEBTOR’S (1) UPDATED CHAPTER
  4   11 STATUS REPORT; AND (2) SUPPLEMENTAL OPPOSITION TO MOTION FOR ORDER DISMISSING
      CHAPTER 11 CASE, AND GRANTING RELATED RELIEF; AND DECLARATION OF MARC C.
  5   FORSYTHE IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
      form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) April 26, 2017, I checked the CM/ECF docket for this bankruptcy case
  8   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  9
             Jeffrey W Dulberg jdulberg@pszjlaw.com
 10          Marc C Forsythe kmurphy@goeforlaw.com,
              mforsythe@goeforlaw.com;goeforecf@gmail.com
 11          Michael J Hauser michael.hauser@usdoj.gov
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 12
                                                         Service information continued on attached page
 13
      2. SERVED BY UNITED STATES MAIL:
 14   On (date) April 26, 2017, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 15   in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 16
 17
                                                         Service information continued on attached page
 18
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 19   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) April 26, 2017, I served the following persons and/or entities by personal delivery, overnight mail
 20   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 21   mail to, the judge will be completed no later than 24 hours after the document is filed.

 22        The Honorable Catherine Bauer, USBC, 411 West Fourth Street, Santa Ana, CA 92701

 23                                                      Service information continued on attached page

 24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 25
       April 26, 2017         Susan C. Stein                                 /s/Susan C. Stein
 26    Date                    Printed Name                                  Signature

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 28



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